                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Apr 14, 2016
                                      Form ID: pdf018                    Total Noticed: 3

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 16, 2016.
db/jdb         +Elbert G Garboden,   Sherry L Garboden,   16102 NE San Rafael,   Portland, OR 97230-5254
cr             +Wells Fargo Bank N.A. dba Wells Fargo Dealer Servi,   P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Apr 15 2016 00:10:38
                 Les Schwab Tire Centers of Portland Inc,   POB 5350,   Bend, OR 97708-5350
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 16, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 14, 2016 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                      Case 15-35133-rld7              Doc 40       Filed 04/16/16
                                                                           DISTRICT OF OREGON
                                                                                FILED
                                                                                April 14, 2016
                                                                        Clerk, U.S. Bankruptcy Court



Below is an Order of the Court.




                                                         _______________________________________
                                                                     RANDALL L. DUNN
                                                                   U.S. Bankruptcy Judge




                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF OREGON

 In re
                                              Case No. 15-35133-rld7
     Elbert Garboden
     Sherry Garboden
                                              ORDER APPROVING MOTION
 Debtors                                      TO SETTLE AND COMPROMISE


         This matter came before the Court for telephonic hearing on April 12, 2016. The

 Trustee, Amy Mitchell, appeared. Ms. Garboden also appeared. Based on the record of

 the hearing, it is

         ORDERED that the Trustee’s Motion to Settle and Compromise (docketed at

 #21) is approved.

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 I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).

 Presented by:

 _/s/ Amy Mitchell____________
 Amy Mitchell, Trustee



 ORDER APPROVING SETTLEMENT – Page 1



                      Case 15-35133-rld7   Doc 40    Filed 04/16/16
List of Parties to Receive Copy of Order
In re Garboden
Case No. 15-35133-rld7

Via regular mail:

       Les Schwab Tire Centers of Portland Inc
       POB 5350
       Bend, OR 97708

       Wells Fargo Bank N.A.
       dba Wells Fargo Dealer Services
       P.O. Box 3569
       Rancho Cucamonga, CA 91729

Via ecf:

   x   Jesse Baker: ecforb@aldridgepite.com, JPB@ecf.inforuptcy.com,
       jbaker@aldridgepite.com
   x   Kachelle Baxter: kachelle@baxterlaw.com, kirsten@baxterlaw.com,
       docket@baxterlaw.com
   x   Lisa McMahon-Myhran: lmcmahon@robinsontait.com,
       ncarson@robinsontait.com, ssears@robinsontait.com,
       sjosephson@robinsontait.com
   x   Amy Mitchell: mitchelltrustee@comcast.net, amitchell@ecf.epiqsystems.com
   x   US Trustee, Portland: USTPRegion18.PL.ECF@usdoj.gov




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